95 F.3d 2
    Mary DALE, Plaintiff-Appellant,v.William J. KELLEY, Individually and in his Official Capacityas Assistant District Attorney for the County of Livingston,Charles J. Dipasquale, Individually and in his OfficialCapacity as Chief of the Mount Morris Police Department,County of Livingston, and Village of Mt. Morris, Defendants-Appellees.
    No. 80, Docket 96-7010.
    United States Court of Appeals,Second Circuit.
    Argued Aug. 29, 1996.Decided Sept. 11, 1996.
    
      Robert B. Koegel, Rochester, New York, for Plaintiff-Appellant.
      David J. Edwards, Rochester, New York (Law Offices of Scott H. Smith, Rochester, New York), for Defendants-Appellees Kelley and County of Livingston.
      Before:  MESKILL, KEARSE, and MAHONEY, Circuit Judges.
      PER CURIAM:
    
    
      1
      Plaintiff Mary Dale appeals from a final judgment of the United States District Court for the Western District of New York, David G. Larimer, Judge, dismissing her complaint for false arrest and malicious prosecution on a charge of perjury as a result of testimony she gave at a felony hearing.  The district court granted summary judgment (a) in favor of defendant William J. Kelley, the assistant district attorney who ordered Dale's arrest and prosecution, on the grounds that there was probable cause to arrest Dale and initiate criminal proceedings against her, and on grounds of absolute and qualified immunity;  (b) in favor of defendant Charles J. DiPasquale, a law enforcement officer who, inter alia, arrested Dale at the instruction of Kelley, on the ground of qualified immunity;  and (c) in favor of the municipal defendants on the basis of the rulings that there was probable cause to arrest and to initiate criminal proceedings.  Dale challenges these rulings on appeal.  We affirm substantially for the reasons stated in Judge Larimer's Decision and Order dated December 6, 1995, reported at 908 F.Supp. 125.
    
    